              IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF IOWA
                        WESTERN DIVISION

UNITED STATES OF AMERICA,
           Plaintiff,                         No. 06-CR-4081-DEO
vs.                                    ORDER REGARDING REPORT AND
                                        RECOMMENDATION CONCERNING
SERGIO RODRIGUEZ, a/k/a Eric
Balderas,                                      GUILTY PLEA

           Defendant.
                        ____________________

                 I.   INTRODUCTION AND BACKGROUND

      On August 22, 2006, a 7 Count Indictment (Docket No. 4,

08/22/2006) was returned against several defendants.                 Count 1

only of that Indictment related to defendant Sergio Rodriguez,

a/k/a Eric Balderas.      Count 1 of that Indictment charges that

between about 2004 and continuing through August 21, 2006, in

the Northern District of Iowa and elsewhere, co-defendants and

defendant Sergio Rodriguez, a/k/a Eric Balderas, did knowingly

and unlawfully combine, conspire confederate, and agree with

each other and with other persons, known and unknown to the

Grand Jury:

      1.   To distribute 500 grams or more of a mixture or

substance containing a detectable amount of methamphetamine,

a Schedule II controlled substance, within 1,000 feet of the




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real     property    comprising     a       public     playground,        that       is

Grandview Park in Sioux City, Iowa, in violation of Title 21,

United      States   Code,    Sections      841(a)(1),       841(b)(1)(A)           and

860(a), and;

       2.    To distribute marijuana, a Schedule I controlled

substance, in violation of Title 21, United States Code,

Sections 841(a)(1), 841(b)(1)(D).

       This was in violation of Title 21, United States Code,

Section 846.

       On December 8, 2006, defendant Sergio Rodriguez, a/k/a

Eric Balderas, appeared before United States Magistrate Judge

Paul A. Zoss and entered a plea of guilty to Count 1 of the

Indictment.      On the same date, United States Magistrate Judge

Zoss    filed   a    Report   and   Recommendation            (Docket     No.       38,

12/08/2006) in which he recommends that defendant Sergio

Rodriguez, a/k/a Eric Balderas’ guilty plea be accepted.                             No

objections to Judge Zoss’s Report and Recommendation were

filed.      The Court, therefore, undertakes the necessary review

of Judge Zoss’s recommendation to accept defendant Sergio

Rodriguez, a/k/a Eric Balderas’ plea in this case.




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                            II.    ANALYSIS

                      A.   Standard of Review

    Pursuant to statue, this Court’s standard of review for

a magistrate judge’s Report and Recommendation is as follows:

          A judge of the court shall make a de novo
          determination of those portions of the
          report or specified proposed findings or
          recommendations to which objection is made.
          A judge of the court may accept, reject, or
          modify, in whole or in part, the findings
          or recommendations made by the magistrate
          [judge].

28 U.S.C. § 636(b)(1).          Similarly, Federal Rule of Civil

Procedure 72(b) provides for review of a magistrate judge’s

Report and Recommendation on dispositive motions and prisoner

petitions, where objections are made as follows:

          The district judge to whom the case is
          assigned shall make a de novo determination
          upon the record, or after additional
          evidence, of any portion of the magistrate
          judge’s disposition to which specific
          written   objection   has   been   made  in
          accordance with this rule.     The district
          judge may accept, reject, or modify the
          recommendation decision, receive further
          evidence, or recommit the matter to the
          magistrate judge with instructions.

FED. R. CIV. P. 72(b).




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       In this case, no objections have been filed, and it

appears to the Court upon review of Judge Zoss’s findings and

conclusions that there are no grounds to reject or modify

them.

       IT   IS   THEREFORE    HEREBY    ORDERED    that    the    this    Court

accepts Judge Zoss’s Report and Recommendation (Docket No.

38), and accepts defendant’s plea of guilty in this case to

Count 1 of the Indictment filed on August 22, 2006 (Docket No.

4).

       IT IS SO ORDERED this 6th day of March, 2007.


                                     __________________________________
                                     Donald E. O’Brien, Senior Judge
                                     United States District Court
                                     Northern District of Iowa




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